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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

           v.
                                                           Criminal Action No. TDC-18-0157
 LEEELBAZ,

           Defendant.



                                               ORDER

        Pending before the Court are a Motion to Withdraw as Attorney, ECF No. 91, and a Motion

to Continue, ECF No. 98, filed by present defense counsel, Alex Spiro, of Quinn Emanuel Urquhart

and Sullivan LLP ("Quinn"), and a Motion to Substitute Counsel, ECF No. 115, filed by attorney

Barry J. Pollack of Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP.

        Where these motions were filed within four weeks oftrial in a complex criminal case, after

the first pretrial filing deadline had already passed, the Court ordinarily would deny a continuance

or substitution of counsel, even for the reasons stated in the ex parte filings by Quinn.         In the

present case, given the extensive discovery materials, there is no way that new counsel could be

prepared for trial by the current trial date of January 8, 2019. The ex parte filings, however, have

made clear that Quinn has failed properly to prepare for trial, as it should have to fulfill its ethical

obligations to its client, such that there is a substantial risk that Defendant Lee Elbaz would not be

adequately represented at trial if it were to commence as scheduled. Accordingly, the Court must

grant a continuance. The Court does not address the discovery-related grounds for the continuance

asserted in the Motion.    With the trial continued, the Court will grant the Motion to Substitute

Counsel.
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      It is hereby ORDERED that:

       1.    The Motion to Substitute Counsel, ECF No. 115, is GRANTED.

      2.     The Motions to Withdraw as Attorney and to Continue, ECF Nos. 91, 98, are

             GRANTED.

      3.     Attorney Barry Pollack and the firm Robbins, Russell, Englert, Orseck, Untereiner

             & Sauber LLP are SUBSTITUTED as counsel for Defendant Lee Elbaz.

      4.     Attorneys Alex Spiro and John Chun and the firm Quinn Emanuel Urquhart and

             Sullivan LLP are TERMINATED as counsel for Elbaz.

      5.     The January 8,2019 trial date is CONTINUED to a date to be set at a telephone

             status conference on January 4,2019 at 9:00 a.m.




Date: December ~,   2018
                                                  THEODORED. CH
                                                  United States District Ju
